638 F.2d 214
    UNITED STATES of America Plaintiff-Appellant,v.Albert W. SCHRUM Defendant-Appellee,UNITED STATES of America Plaintiff-Appellant,v.William K. VANWINKLE Defendant-Appellee,UNITED STATES of America Plaintiff-Appellant,v.Stephen J. THOMPSON Defendant-Appellee,UNITED STATES of America Plaintiff-Appellant,v.Basil Dickey STONE Defendant-Appellee,UNITED STATES of America Plaintiff-Appellant,v.William G. GRIMES Defendant-Appellee.
    Nos. 80-1202 to 80-1206.
    United States Court of Appeals,Tenth Circuit.
    Submitted and Argued Dec. 15, 1980.Decided Jan. 8, 1981.
    
      Robert S. Streepy, Asst. U. S. Atty., Topeka, Kan.  (James P. Buchele, U. S. Atty., Topeka, Kan., with him on briefs), for plaintiff-appellant.
      Ira R. Kirkendoll, Asst. Federal Public Defender, Topeka, Kan.  (Leonard D. Munker, Federal Public Defender, Wichita, Kan., with him on briefs), for defendants-appellees.
      Before HOLLOWAY, LOGAN and SEYMOUR, Circuit Judges.
      PER CURIAM.
    
    
      1
      The only issue in these consolidated appeals is whether Article IV(e) of the Interstate Agreement on Detainers Act, 18 U.S.C. App. § 2, requires dismissal of federal indictments in the following circumstances: State prisoners, against whom detainers had been lodged, were taken from state custody by federal authorities under a writ of habeas corpus ad prosequendum to appear for arraignment or other pretrial proceedings in federal court, but were not tried before being returned the same day to the state prison.
    
    
      2
      In a well-reasoned opinion the trial court held the federal indictments must be dismissed in these circumstances.  We agree and affirm on the basis of the analysis set out in Judge Rogers' opinion reported as United States v. Schrum, 504 F.Supp. 23 (D.Kan. 1980).
    
    